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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT TACOMA

 8   SAMUEL VALDEZ,

 9                                 Petitioner,             Case No. C21-5322-DGE-SKV

10          v.
                                                           ORDER GRANTING PETITIONER’S
11   RONALD HAYNES,                                        THIRD MOTION FOR ENLARGEMENT
                                                           OF TIME
12                                 Respondent.

13

14          This is a federal habeas action filed under 28 U.S.C. § 2254. This matter comes before

15   the Court at the present time on Petitioner’s third motion for an enlargement of time to file a

16   response to Respondent’s answer to Petitioner’s federal habeas petition. Dkt. 27. Petitioner has

17   previously requested, and been granted, two sixty-day extensions of time to file his response to

18   Respondent’s answer. See Dkts. 10, 12, 13, 20. Petitioner now seeks yet another extension of

19   time to prepare and file his response, arguing that the additional time is necessary because of

20   COVID-19 related restrictions on law library access at the Stafford Creek Corrections Center.

21   Dkt. 27. Respondent has not filed a response to the current motion, though he did indicate in his

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 1   response to Petitioner’s last motion, which Respondent did not oppose, that he would oppose any

 2   further requests for additional time for Petitioner to file his response. Dkt. 14.

 3          Petitioner requests in the current motion that he be granted an enlargement of time from

 4   December 16, 2021 to January 16, 2022 to file his response, suggesting that Petitioner believes

 5   the Court’s prior order established a response deadline of December 16, 2021. In fact, in his last

 6   motion for an enlargement of time, Petitioner asked that he be granted until November 16, 2021,

 7   to file his response and the Court granted that request. See Dkt. 20. Petitioner’s response is

 8   therefore already overdue.

 9          Petitioner was advised in the Court’s Order granting his last motion requesting additional

10   time that no future extensions would be granted absent a showing of extraordinary

11   circumstances. Id. at 2. Petitioner has arguably not shown that extraordinary circumstances

12   justify extension of the current response deadline. Though Petitioner claims law library access is

13   limited, he recently filed extensive motions for discovery, for expansion of the record, and for an

14   evidentiary hearing. See Dkts. 15, 16, 18, 22, 23, 26. This suggests that Petitioner does, in fact,

15   have ample access to the law library, he has simply not used his time to prepare his response.

16   While the Court is reluctant to grant Petitioner yet another extension, the Court is also concerned

17   about Petitioner’s apparently mistaken belief that his current deadline is still almost a month

18   away when, in fact, the deadline has now passed. The Court will therefore grant Petitioner one

19   final extension.

20          Based on the foregoing, the Court, hereby ORDERS as follows:

21          (1)     Petitioner’s third motion for an enlargement of time to file a response to

22   Respondent’s answer (Dkt. 27) is GRANTED. Petitioner is directed to file his response not later

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 1   than January 17, 2022. 1 Petitioner is advised that no further requests for additional time will be

 2   entertained. If Petitioner fails to submit his response to Respondent’s answer by this new

 3   deadline, the Court will review Petitioner’s federal habeas petition on the record as it currently

 4   stands.

 5             (2)    Respondent’s answer to Petitioner’s federal habeas petition (Dkt. 8) is RE-

 6   NOTED on the Court’s calendar for consideration on January 21, 2022. Respondent shall file

 7   any reply brief in support of his answer by that date.

 8             (3)    The Clerk is directed to send copies of this Order to Petitioner, to counsel for

 9   Respondent, and to the Honorable David G. Estudillo.

10             DATED this 22nd day of November, 2021.

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13                                                                 S. KATE VAUGHAN
                                                                   United States Magistrate Judge
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                As noted, Petitioner requested an enlargement of time until January 16, 2022, to file his response.
21   However, the day selected by Petitioner is a Sunday. The Court has therefore extended the deadline to the next
     business day.
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